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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA

                                         Newport News Division

  UNITED STATES OF AMERICA                       )
                                                 )
                 v.                              )         Criminal No. 4:24-cr-1
                                                 )
  DONNISHA TYVETTE GOODMAN,                      )
  a/k/a “Lady Henny”                             )
                                                 )
                 Defendant.                      )


                         SENTENCING POSITION OF THE UNITED STATES

         In accordance with 18 U.S.C. § 3553(a) and the United States Sentencing Commission,

  Guidelines Manual, § 6A1.2 (the “Guidelines”), the United States of America, through its

  attorneys, Jessica D. Aber, United States Attorney for the Eastern District of Virginia, and

  undersigned counsel, hereby represents that it has reviewed the probation office’s presentence

  report (hereinafter “PSR”) and does not dispute any of the facts set forth therein.    For the reasons

  to follow, and the reasons to be offered during the sentencing hearing, the United States

  respectfully requests that the Court impose a sentence of 45 years of imprisonment.

         The defendant was one of two shooters in a heinous gang murder.            She and JONES fired

  fourteen times at another human being, killing T.M.       All because of perceived disrespect to their

  criminal organization, the Black P. Stone Nation. To make matters worse, the alleged disrespect

  was trivial at best.    The murder was not a moment of indiscretion or a one-off mistake.         The

  defendant and her coconspirators drove the victim over an hour east of Richmond to a remote area

  of York County.        During the abduction and travel to the murder scene, the defendant and her

  coconspirators repeatedly struck the victim.       If this were not enough, the defendant required the

  victim to simulate a sex act with on the barrel of the firearm in the hour before the murder.   When

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  the victim did not perform to the defendant’s liking, she pistol whipped her with the weapon.   The

  facts of the crime of conviction are unconscionable. A sentence of 45 years of imprisonment is

  the absolute minimum to reflect the seriousness of the offense, the history and characteristics of

  the defendant, afford adequate deterrence, and protect the public from further crimes of the

  defendant.

                                     PROCEDURAL HISTORY

         On December 18, 2023, a Criminal Complaint was filed against the defendant and

  codefendant ACACIA IYANA JACKSON, a/k/a “Dominant,” charging them with Conspiracy to

  Commit Kidnapping and Kidnapping Resulting in Death.         ECF No. 1.    On January 16, 2024, a

  federal grand jury sitting in the Newport News Division of the Eastern Division of Virginia

  returned a two-count Indictment against the defendant and JACKSON, charging each defendant

  with conspiracy to commit kidnapping, in violation of 18 U.S.C. § 1201(c) and kidnapping

  resulting in death, in violation of 18 U.S.C. § 1201(a)(1) and 2.   ECF No. 24.

         JACKSON was the first defendant to plead guilty.             On March 5, 2024, JACKSON

  pleaded guilty to conspiracy to commit kidnapping.     ECF No. 35.

         On April 10, 2024, the defendant was named in a Superseding Indictment, which brought

  the same charges and added codefendants HEZEKIAH JANILE CARNEY, a/k/a “HK,”

  JAYQUAN ALLEN JONES, a/k/a “Dolo,” and JAMICA DANIELLE LANGLEY, a/k/a “Ja’Mica

  Langley” and “Baby D.”      ECF No. 40.

         LANGLEY was the second defendant to plead guilty.             On July 2, 2024, LANGLEY

  pleaded guilty to conspiracy to commit kidnapping. ECF No. 80.          On July 8, 2024, a federal

  grand jury sitting in the Newport News Division of the Eastern District of Virginia returned a

  Second Superseding Indictment, additionally charging the defendant, JONES, and CARNEY with


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  Murder in Aid of Racketeering, in violation of 18 U.S.C. § 1959(a)(1) and 2 and Use of a Firearm

  Causing Death, in violation of 18 U.S.C. § 924(j)(1) and 2.        ECF No. 85.

           On August 19, 2024, the defendant appeared before this Court and pled guilty to Use of a

  Firearm Causing Death.          ECF No. 99.    On August 27, 2024, JONES appeared before this Court

  and pled guilty to use of a firearm causing death.       ECF No. 103.    On August 29, 2024, CARNEY

  appeared before this Court and pled guilty to use of a firearm causing death.        ECF No. 107.    He

  was the last defendant to plead guilty.

           This Court must sentence the defendant to a term of imprisonment between 35 and 45

  years.       She faces an advisory guideline sentence of 324 to 405 months. 1      PSR ¶ 78.

                                         OFFENSE OF CONVICTION

           The defendant was a “First Lady” for a regional area of Black P. Stone Nation (“BPSN”),

  a violent criminal street gang with various regional subsets across the United States. ECF No.

  101 (“SOF”) ¶ 1.        The BPSN was a structured criminal enterprise with its own set of rules and

  hierarchies.      SOF ¶¶ 6-7.     Members of the BPSN were expected to enrich themselves and their

  fellow members through, among other things, narcotics distribution, firearms trafficking, and

  robberies.      SOF ¶ 7, 13.     They also engaged in intimidation, threats of violence, and violence to

  protect and enhance their position of power in the community.           SOF ¶ 7.

           As a First Lady, the defendant was the highest-ranking female leader for the Hampton

  Roads area.       SOF ¶ 5.     Along with her male leaders, the defendant was responsible for enforcing

  the rules of BPSN on subordinate members.          SOF ¶¶ 5, 6.   Approximately one month before the

  instant offense, the defendant, LANGLEY, CARNEY, and JACKSON performed a “violation” or


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           If the Court applies the two-level enhancement for physical restraint, as discussed
  below, the defendant’s advisory guideline range would be 360 months to life.


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  a physical beating, of another BPSN member for violating gang rules, causing serious bodily

  injury.    PSR ¶ 12.   This demonstrates a troubling pattern of gang-related beatings and violence

  leading up to the murder constituting the offense of conviction.

            T.M. was the “Krown Prinxess” of a BPSN set in Virginia and was the highest-ranking

  female member for her geographic area.           SOF ¶¶ 5, 14.   Her male-equivalent in the BPSN

  hierarchy was the “Krown Prinxe,” a position held by CARNEY.          SOF ¶ 4.

            In the days leading up to May 6, 2023, the defendant, JACKSON, CARNEY, and

  LANGLEY determined that T.M. committed a gang infraction warranting a physical beating.

  SOF ¶ 17.      On the evening of May 4, the defendant, JACKSON, CARNEY, and LANGLEY

  drove to the Hampton Roads area to Richmond to beat T.M.           SOF ¶ 18.     However, they got a

  flat tire on their drive, which delayed their arrival in Richmond until the early morning hours of

  May 6, 2023.     SOF ¶ 19.

            On May 4, 2023, JACKSON texted T.M. that they were on their way to see her, and later

  notified T.M. about the flat tire.   SOF ¶ 20.    T.M. asked why they were coming over “out of the

  blue.” SOF ¶ 20.       At 1:15 a.m. on May 5, 2024, JACKSON texted T.M. “Yoooooo,” and T.M.

  replied, “You n[******] was supposed to dub [beat] me last night �.”        SOF ¶ 20.

            When the defendant, CARNEY, JACKSON, and LANGLEY arrived at T.M.’s residence

  just after 1:00 a.m. on May 6, 2023, they notified T.M. of her violation and CARNEY supervised

  and kept time while GOODMAN, JACKSON, and LANGLEY beat T.M. with closed fists for a

  specified period of time, resulting in bruises to T.M.’s face and body.   SOF ¶ 22.

            Next, the defendant drove JACKSON, CARNEY, and LANGLEY in her vehicle from

  T.M.’s residence to JONES’ residence nearby.           SOF ¶ 23.    There, the defendant, JONES,

  CARNEY, LANGLEY, and JACKSON sat in the defendant’s vehicle and played music on


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  JACKSON’s cell phone.       The defendant picked up JACKSON’s phone to play music and saw

  the aforementioned text messages between JACKSON and T.M.              SOF ¶ 24.      Despite that the

  conversation occurred before T.M.’s beating, the defendant interpreted the text message as a sign

  of disrespect, and sent a screenshot of the message to CARNEY.         SOF ¶ 24.   At this point, the

  group decided to return to T.M.’s residence.    SOF ¶ 25.

         The defendant, CARNEY, JONES, LANGLEY, and JACKSON returned to T.M.’s

  residence in the defendant’s vehicle.    SOF ¶ 25.     They walked to the front door, where they

  could hear T.M. speaking with her boyfriend.    SOF ¶ 26.    They knocked, and when T.M. opened

  the door, the defendant and LANGLEY started to beat T.M.        SOF ¶ 26.     JONES and CARNEY

  brandished their firearms and chased T.M.’s boyfriend upstairs, where the boyfriend locked

  himself in a bedroom and jumped out of a window to escape.        SOF ¶ 26.    After the boyfriend’s

  escape, LANGLEY and the defendant, who was armed, walked T.M. to the defendant’s car, while

  JONES and CARNEY also brandished their firearms.          SOF ¶ 27.

         The defendant began driving eastbound on Interstate-64.        After approximately an hour of

  driving, the defendant and her codefendants stopped at a 7-Eleven in Newport News.         SOF ¶ 30.

  While JONES and LANGLEY went into the store, the defendant told T.M. to suck CARNEY’s

  penis, which CARNEY did not want.       PSR ¶ 12. The defendant then forced T.M. to suck on the

  barrel of the defendant’s firearm and pistol whipped T.M. in the face.     SOF ¶ 30, PSR ¶ 12.

         JONES and LANGLEY got back in the vehicle and the defendant started driving again.

  After some time, the defendant told the group to turn off their phones.   PSR ¶ 12.    The defendant

  then asked T.M. who she would sacrifice to save her own life, and T.M.’s response prompted

  JACKSON and LANGLEY to start beating her again.           PSR ¶ 13.




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          The defendant stopped her vehicle in the roadway of Old Williamsburg Road in York

  County, Virginia, and the defendant and JONES had T.M. get out of the car and walk into the

  woods, where the defendant and JONES shot and killed her, firing at least fourteen shots and

  striking T.M. eight times in the head, abdomen, back, buttocks and legs.   SOF ¶ 31.

                                            THE VICTIM

  At the time she was murdered, T.M. was twenty-five years old.    She was the mother of two minor

  children.   Her mother provided the Court with a more personal description of her daughter:

          [T.M.] was not just my daughter, she was my first true love. She was my twin.
          She was a vibrant soul, her smile could light up a room. I struggled for months
          after her death to even look in the mirror because she looked so much like me.

          In her victim impact statement, T.M.’s mother further described the devastating harm to

  T.M’s family from the murder.

          My youngest daughter became distraught, started acting like [T.M.], she started
          running away, getting arrested, and I had to reach out to the courts for help.

          My children have lost their sense of safety and security in the community and with
          some family and friends. My children have become overly protective of one
          another and are very cautious when it comes to anyone else. They struggle with
          the feeling of grief, express it with anger and withdrawing from loved ones. This
          crime has altered their perception of safety and hurt her [two] daughters who are
          only 5-6 years old have yet to fully understand [T.M.] is not coming back.

  T.M. was murdered on May 6, 2023, in York County, but she was certainly not the only person

  harmed by this senseless crime.

                              THE DEFENDANT’S BACKGROUND

          The defendant is a twenty-seven-year-old female from Portsmouth, Virginia.      PSR at 2,

  ¶ 52.   The defendant’s father was absent for most of her life and her mother was incarcerated for

  significant periods of time, so the defendant was raised by her grandmother.     PSR ¶ 52.    The

  defendant undoubtedly had a difficult childhood with absent parents, was the victim of sexual


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  abuse as a minor, and had a number of other difficulties as a teenager.     PSR ¶ 52-53.      The

  defendant began getting into trouble as a teenager, and was eventually placed in foster care when

  she was fifteen years old.   PSR ¶ 54.   The defendant ran away to Georgia when she was eighteen

  and later returned to live with her grandmother again.   PSR ¶ 54.

         The defendant was married twice and reported that she was abused by her second husband.

  PSR ¶ 57. She also reported being sexually assaulted while in Virginia in June 2020.         PSR ¶

  65.   The defendant has three children, and her youngest child’s father is possibly CARNEY.

  PSR ¶ 59. The defendant gave birth to her youngest child while in custody on the instant offense.

  PSR ¶ 59.    The defendant was also the victim of another rape in or about June 2020 in Orlando,

  Florida.    PSR ¶ 65.

         The defendant reported that overall, she is in good physical health.      PSR ¶ 64.     She

  reported having a significant history of mental health issues, including being diagnosed with

  anxiety, attention deficit hyperactivity disorder, and bipolar disorder since she was a juvenile.

  PSR ¶ 66. She was later also diagnosed with post-traumatic stress disorder, major depressive

  disorder, and adjustment disorder with mixed disturbance of emotions and conduct.     PSR ¶ 67.

  The defendant had multiple suicide attempts between April and June 2024.         PSR ¶ 67. The

  defendant is currently receiving treatment for her mental health.    PSR ¶ 67.    The defendant

  reported a history of substance abuse, using marijuana daily since she was twenty-four years old.

  PSR ¶ 68.

         The defendant did not complete high school and was transferred to an alternative school

  program as a result of her disruptive behavior in school settings. PSR ¶ 69.     She is currently

  working towards earning a high school diploma while incarcerated.       PSR ¶ 69.    Prior to her




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  incarceration, the defendant worked part time as a personal care assistant and as a cashier.    PSR

  ¶¶ 72-73.   She was also self employed as a stripper and sex worker.       PSR ¶ 74.

         The defendant’s background and arrest reflect a history of perpetrating violence.     Starting

  at age sixteen, the defendant was convicted of assaulting a law enforcement officer by striking a

  staff member at a juvenile facility in the head and threatening to kill her.   PSR ¶ 31.   In 2016 at

  the age of nineteen, the defendant was convicted of assault and battery (pled down from felony

  malicious wounding) of a family member for biting her mother and for throwing cleaning solution

  into her mother’s eyes.   PSR ¶ 32.    In 2019, the defendant was convicted of assault and battery

  on another family member, her grandmother, for hitting her in the face and causing her to fall to

  her knees during an argument.       PSR ¶ 33.       In 2021, at age twenty-four, the defendant was

  convicted of using threatening language over the telephone for communicating death threats to her

  mother and her eight-year-old minor son.         PSR ¶ 36.   She was also convicted of six other non-

  violent offenses, including driving-related offenses, failure to appear, and contempt of court, which

  did not result in any criminal history points.     PSR ¶¶ 34, 35, 37, 38, 39, 40.

         Additionally, the defendant had significant encounters with law enforcement that did not

  result in convictions, including for multiple assault and battery charges on her family members.

  PSR ¶ 44-46, 48.    Although a sentencing court may not consider a bare arrest record, a number

  of the charges reference specific (and similar) acts of assault from court and police records may

  be considered if determined reliable. U.S.S.G § 4A1.3(a)(2)(E); United States v. Harris, 702 F.3d

  226, 229-231 (5th Cir. 2012). It does not appear that the defendant denies any of this conduct.




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                                    UNRESOLVED OBJECTIONS

         The defendant maintains two objections to her PSR.         First, defendant objects to

  paragraph 13 of the PSR, arguing that the information therein was unreliable.       Second,

  defendant objects to the government’s request for a two-level enhancement for physical restraint.

                                       Paragraph 13 of the PSR

         Defendant contends that the information in paragraph 13 should not be included in the PSR

  because it is not credible.   This is wrong as a matter of law.    “No limitation shall be placed on

  the information concerning the background, character, and conduct of a person convicted of an

  offense which a court of the United States may receive and consider for the purpose of imposing

  an appropriate sentence.”     18 U.S.C. § 3661.

         To the extent the defendant, in raising this objection, disputes facts set forth in the PSR,

  “[t]he defendant has an affirmative duty to make a showing that the information in the presentence

  report is unreliable, and [to] articulate the reasons why the facts contained therein are untrue or

  inaccurate.” See United States v. Terry, 916 F.2d 157, 162 (4th Cir. 1990) (rejecting a defendant

  who “merely claimed” information was unreliable but never that “it was inaccurate or untrue,”

  citing with approval the holding of United States v. Mueller, 902 F.2d 336, 346 (5th Cir. 1990)

  that a court can adopt a PSR’s findings where the defendant failed to introduce evidence to rebut

  them). See also United States v. Randall, 171 F.3d 195, 211 (4th Cir. 1990) (upholding a drug

  quantity calculation based upon officer summaries of coconspirator statements that the defendant

  neither rebutted nor explained). Thus, where, as here, a government report supports a portion of

  the PSR, that report suffices and may be trusted if the defendant makes only unsupported attacks

  on it and fails to adduce “any evidence casting doubt” on its trustworthiness. United States v.

  Fowler, 58 F.4th 142, 151-53 (4th Cir. 2023) (quoting United States v. Walker, 922 F.3d 239, 253


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  (4th Cir. 2019). Without an affirmative showing that the PSR is inaccurate, the Court can “adopt

  the findings of the [PSR] without more specific inquiry or explanation.” Terry, 916 F.2d at 162.

         Finally, there was nothing untoward about the government fulfilling its obligation to

  interview a cooperating witness pursuant to an agreement entered into as part of her guilty plea.

  On the contrary, the United States was obliged to make good on that agreement. Pursuant to 18

  U.S.C. § 3553(a), a sentencing court is able to consider a wide range of materials relevant to the

  defendant’s offense and history, including statements of co-conspirators.          The defendant’s

  argument about reliability ultimately is a question of weight for the court to determine, rather than

  an issue of exclusion from the PSR.        It is notable that the information in paragraph 13 was

  overwhelmingly consistent with other information developed to date in this case, which certainly

  counters the assertion by the defendant that none of it can be trusted.

                                        Restraint Enhancement

         Defendant next objects to the imposition of a two-level enhancement for physical restraint

  pursuant to Section 3A1.3 of the Guidelines, arguing that the facts of this case do not meet the

  definition for physical restraint and in the alternative, such an enhancement would constitute

  impermissible double counting.

         Section 3A1.3 defines physical restraint as the forcible restraint of a victim, such as being

  tied, bound, or locked up.   U.S.S.G. § 1B1.1, cmt. n.1(L).    The definition’s “use of words ‘such

  as’ [make it] apparent that ‘being tied, bound or locked up’ are listed by way of example rather

  than limitation.” United States v. Stokley, 881 F.2d 114, 116 (4th Cir. 1989) (internal citation

  omitted).   The Fourth Circuit Court of Appeals has repeatedly held that controlling someone’s

  movement constitutes physical restraint.     See, e.g., United States v. Johnson, 492 F.3d 254, 257

  (4th Cir. 2007) (defendant’s act of gripping the victim’s arms and holding her down while another


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  man raped her constituted forcible restraint); United States v. Wilson, 198 F.3d 467, 472 (4th Cir.

  1999) (upholding finding of physical restraint where victim was held at gunpoint and was unable

  to leave her car while she was carjacked); United States v. Baylor, 296 F. App’x 360, 362 (4th Cir.

  2008) (no error in applying physical restraint enhancement where a codefendant held a victim at

  gunpoint during a robbery).

         The defendant admitted in the statement of facts to conduct constituting restraint.     The

  defendant agreed that she conspired and joined together with her coconspirators to kidnap T.M.

  SOF ¶ 15.   The defendant further agreed that she came to T.M.’s residence at approximately 2:28

  a.m. and “kidnapped” T.M.     SOF ¶ 25.    If this were not enough, the defendant also agreed that

  she took T.M. by “force and against her will from her residence to the vehicle.” SOF ¶ 27.     The

  defendant also agreed that she and her coconspirators drove T.M. away from her residence “for

  the purpose of holding T.M. under force and against her will.” SOF ¶ 29.     Finally, the defendant

  and JONES directed T.M. to walk into the woods off Old Williamsburg Road where she was later

  murdered.   SOF ¶ 30.    When a defendant disputes facts to which he agreed, the court is entitled

  to rely on the defendant’s prior sworn admissions to establish the truth of those facts. See United

  States v. Lemaster, 403 F.3d 216, 221-22 (4th Cir. 2005) (“[I]n the absence of extraordinary

  circumstances, the truth of sworn statements made during a Rule 11 colloquy is conclusively

  established….”); United States v. Bowman, 348 F.3d 408, 417 (2003) (“[A]n appropriately

  conducted Rule 11 colloquy can only serve meaningfully if the court is entitle to rely on the

  defendant’s statements made under oath to accept a guilty plea.”).

         While some other circuits apply this enhancement more narrowly, “in this Circuit the law

  is clear that use of a gun to restrain a victim may constitute physical restraint within the meaning

  of § 2B3.1.” Baylor, 296 F. App’x at 362. Notably, this enhancement was recently applied in


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  JONES’ separate Hobbs Act robbery conviction, 2 during which JONES held a security guard at

  gunpoint and required the security guard to remain seated and raise his hands in the air. See

  United States v. Jones, No. 4:23-cr-90 (RAJ), ECF No. 20. The facts underlying this case are

  more compelling, as the defendant abducted T.M., forced her to walk to the vehicle against her

  will, transported her in that vehicle for over an hour, and forced her to walk into a forest where she

  was then murdered.

         Moreover, application of the physical restraint enhancement does not amount to double

  counting in this case, as the defendant’s offense does not include an element of physical restraint.

  U.S.S.G. § 3A1.3 cmt. n.2 provides that this enhancement does not apply where “the offense

  guideline specifically incorporates this factor or where the unlawful restraint of a victim is an

  element of the offense itself,” such as in kidnapping or abduction cases. The defendant has pled

  guilty to using a firearm during and in relation to a murder in aid of racketeering. Unlike

  kidnapping and abduction offenses, this conviction does not hinge on whether the defendant’s use

  of a firearm during and in relation to the murder occurred while the victim was restrained.

         This case is similarly distinguishable from United States v. Mikalajunas, 936 F.2d 153, 157

  (4th Cir. 1991), in which the Court held that a second-degree murder by stabbing did not warrant

  the physical restraint enhancement because “[e]very murder involves the ultimate restraint.” The

  Court noted that the enhancement is intended “to be made in the context of an act which adds to

  the basic crime.” Id. Here, the defendant’s actions of abducting the victim into her vehicle and

  directing her movement amounted to forcible restraint, not the murder itself. Therefore, the

  enhancement should be applied.


         2
           While the physical restraint enhancement for robbery is located under a different section
  of the Guidelines, U.S.S.G. § 2B3.1(4)(B), the definition is cross-referenced in Section 1B1.1,
  the same as for the instant offense. See U.S.S.G. § 2B3.1, cmt. n.1.

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                         POSITION ON SENTENCING AND ARGUMENT

           The United States respectfully submits that a sentence of 45 years of imprisonment is

  appropriate in light of all of the sentencing factors set forth in 18 U.S.C. § 3553(a) and would be

  sufficient but not greater than necessary to accomplish the goals of sentencing.

           First, the nature and circumstances of this offense are some of the most severe that can

  occur in the federal criminal system.   The defendant shot and killed T.M., a twenty-five-year-old

  mother of two young children.     Not only did the defendant take a human life, she beat and taunted

  T.M. in the hours leading up to her death.     After beating the victim the first time, the defendant

  and her codefendants chose to return to T.M.’s residence and escalate their violence over what can

  only be described as extremely trivial perceived disrespect.     Upon their return, they created such

  an environment of fear that T.M.’s boyfriend jumped out of a second-floor window to escape the

  group.

           Amongst her codefendants, the defendant played a particularly egregious role in the

  kidnapping and murder.       While the defendant was under the leadership of CARNEY, she

  appeared to have played a significant part in re-energizing her codefendants to return to T.M’s

  home after the initial beating.   She was further in control of her vehicle, ostensibly choosing the

  remote destination in Yorktown with the intent of murdering T.M.          This was not a heat of the

  moment decision, as the defendant drove over fifty miles from Richmond to the scene of the

  murder, with a stop along the way in Newport News.          During that stop, rather than make any

  attempt to de-escalate the situation, the defendant chose to further humiliate and brutalize T.M. by

  attempting to sodomize her and pistol whipping her in the face.

           As the defendant approached the area of Old Williamsburg Road, she told her codefendants

  to turn off their phones, indicating her ability to think clearly enough in that moment to try to evade


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  any law enforcement detection of the murder she was about to commit. Finally, during the last

  moments of T.M.’s life, the defendant and JONES ordered her to walk into the wood line, where

  they shot and killed her.   They did not shoot to warn or wound T.M.—they fired at least fourteen

  shots, ensuring that T.M. was dead.

          Moreover, the defendant committed this offense as a member of BPSN, a violent criminal

  gang.   She admitted to killing T.M. as part of maintaining and increasing her position in that

  enterprise—one which was already a position of leadership as the “First Lady” of her region.      The

  involvement of a gang in this offense heightens its severity, as the defendant contributed to creating

  pervasive fear in her community.     BPSN is also no minor criminal enterprise; rather, it is one that

  has promoted murder, robbery, drug trafficking, and other violent offenses.    Here, the defendant’s

  choice to take part in the gang life has left a family without a mother, daughter, and granddaughter.

  Federal law recognizes violent crimes committed on behalf of a criminal enterprise warrant greater

  punishment, and that should be reflected in the defendant’s sentence.     See 18 U.S.C. § 1959.

          Second, while the defendant’s difficult upbringing is certainly mitigating, it does not

  outweigh her history of violence.     As is often the situation in gang cases, the PSR describes an

  extraordinarily challenging childhood for the defendant, including the absence of her parents,

  sexual assault by a family member, and her eventual placement in foster care.           She is also a

  mother to three children, including a child she gave birth to while in custody. However, all of

  that must be balanced against the defendant’s choice to deprive T.M.’s children of their mother, a

  choice that will negatively impact them for the rest of their lives.

          Additionally, the defendant’s murder of T.M. cannot be viewed in a vacuum.         It must be

  evaluated in the context of her escalating acts of violence throughout her young adulthood and

  membership in BPSN. Her criminal history reflects years of assaults against members of her


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  family and the public.   The PSR details incidents of the defendant throwing cleaning solution into

  her mother’s eyes, hitting her grandmother in the face and causing her to fall to her knees, and

  threatening to kill her mother.   While her multiple traffic offenses do not rise to the same level of

  severity, they additionally reflect a general disregard for the rule of law.   The defendant also had

  seven arrests that did not result in convictions for other offenses, including violent ones, showing

  that she has been given many chances to change her behavior that were taken in vain.

         As a member of BPSN, the defendant has committed at least one other violent assault prior

  to the murder that the government is aware of, participating in the beating of another gang member,

  which resulted in serious physical injury. See PSR ¶ 12.       Rather than learn from this experience

  and renounce her membership in the gang, she continued her participation and escalated to

  committing a murder.       For these reasons, the defendant’s history and characteristics further

  support a sentence of 45 years of imprisonment.

         Third and finally, general deterrence, the seriousness of the offense, promoting respect for

  the law, providing just punishment, and public safety all support a sentence of 45 years.        The

  public must look at the actions of the defendant and know that these offenses will be not tolerated.

  Considering the dangerous nature of the defendant’s crimes, a sentence at the height of the range

  the Court may consider is long enough to ensure meaningful deterrence and respect for the law,

  and serve as a warning to others considering membership in an enterprise like the BPSN of the

  consequences that may follow.

                                             CONCLUSION

         The defendant took the life of T.M.       She did so deliberately and without regard for the

  impact on not just T.M. but also her family and the community.      The circumstances of the murder

  were egregious, involved gangs, taunting, sexual abuse, and repeated acts of violence.              A


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  significant sentence is necessary to account for the seriousness of the crime of conviction. For

  the foregoing reasons, the United States respectfully requests that this Court impose a sentence of

  45 years of imprisonment, which is sufficient but not greater to accomplish the goals of sentencing.

                                                Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I certify that on December 27, 2024, I electronically filed a copy of the foregoing with the
  Clerk of the Court using the CM/ECF system who will send notification of such filing (NEF) to
  all counsel of record.


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